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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                      Plaintiff(s),               CASE NUMBER: 04-80335
                                                  HONORABLE VICTORIA A. ROBERTS
 v.

 KEITH LAWSON,

                 Defendant(s).
 _________________________________/

                           ORDER DENYING DEFENDANT’S
                           MOTION FOR RECONSIDERATION

        On July 10, 2007, the Court denied Defendant Keith Lawson’s (“Lawson”)

 “Motion for Correction and/or Vacation of His Sentence Pursuant to 28 U.S.C. §2255 or

 any other Relief Deemed Just and Equitable.” Lawson asks the Court to reconsider its

 decision. (Doc. #300).

        Eastern District of Michigan Local Rule 7.1(g)(3) provides for reconsideration if

 the movant demonstrates a palpable defect by which the court and the parties have

 been misled, and further demonstrates that correcting the defect will result in a different

 disposition of the case. “A ‘palpable defect’ is a defect which is obvious, clear,

 unmistakable, manifest, or plain.” Fleck v. Titan Tire Corp., 177 F.Supp.2d 605, 624

 (E.D. Mich. 2001). “[T]he court will not grant motions for rehearing or reconsideration

 that merely present the same issues ruled upon by the court, either expressly or by

 reasonable implication.” L.R. 7.1(g)(3).

        The Court initially notes that Lawson’s motion is untimely. See L.R. 7.1(g)(1) (“A



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 motion for . . . reconsideration must be filed within 10 days after entry of . . . order”).

 Even if the motion were timely, however, the Court’s Order does not suffer from a

 palpable defect.

        First, the Court disagrees with Lawson’s argument that the firearm enhancement

 should be removed from his Presentence Investigation Report (“PSIR”) because the

 Government could not establish a connection between the firearms and his illegal drug

 activity. Lawson admitted a connection in his Rule 11 Plea Agreement when he

 stipulated to the following statement, “Defendant assisted in the storage and distribution

 [of marijuana]. Defendant sometimes possessed a firearm while conducting these

 activities.” This statement is not a mistake as Lawson claims because: (1) his signature

 serves as an acknowledgment that he read (or was read) the entire Plea Agreement

 and discussed it with his attorney; and (2) the statement was in bold print. If it were a

 mistake, Lawson should have objected at sentencing.

        Second, Lawson cannot succeed on his ineffective assistance of counsel claims.

 He must prove: (1) Todd Flood (“Flood”) and Gerald Evelyn (“Evelyn”) made errors so

 serious they were not functioning as the “counsel” guaranteed by the Sixth Amendment;

 and (2) the deficient performances prejudiced the defense. See Strickland v.

 Washington, 466 U.S. 668, 687 (1984).

        Lawson says prior to sentencing, Flood did not insure: (1) the firearm

 enhancement was deleted from the Plea Agreement and PSIR; and (2) Evelyn (stand-in

 counsel at sentencing) knew such deletion should be made. He says Evelyn was

 ineffective because he did not know the facts of the case.

        These allegations are insufficient to overcome the strong presumption that Flood

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 and Evelyn’s conduct falls within the wide range of reasonable professional assistance.

 See id. at 689.

        The Court DENIES Lawson’s motion for reconsideration.

        IT IS ORDERED.

                                             S/Victoria A. Roberts
                                             Victoria A. Roberts
                                             United States District Judge

 Dated: June 2, 2008

  The undersigned certifies that a copy of
  this document was served on the
  attorneys of record and Keith Lawson by
  electronic means or U.S. Mail on June 2,
  2008.

  s/Carol A. Pinegar
  Deputy Clerk




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